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14                         UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16
17   ALEKSANDR URAKHCHIN, et al.,                Case No. 8:15-cv-01614-JLS-JCG
18                Plaintiffs,                    CLASS ACTION
19         v.                                    MEMORANDUM OF POINTS AND
                                                 AUTHORITIES IN SUPPORT OF
20   ALLIANZ ASSET MANAGEMENT OF                 PLAINTIFFS’ MOTION FOR
     AMERICA, L.P., et al.,                      PRELIMINARY APPROVAL OF
21                                               CLASS ACTION SETTLEMENT
                  Defendants.
22                                               Date: February 2, 2018
                                                 Time: 2:30 P.M.
23                                               Courtroom: 10A
24                                               Judge: Hon. Josephine L. Staton

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 1                                     INTRODUCTION
 2         Plaintiffs Aleksandr Urakhchin and Nathan Marfice (“Plaintiffs”) submit this
 3   Memorandum in support of their Motion for Preliminary Approval of Class Action
 4   Settlement. A copy of the proposed Class Action Settlement Agreement
 5   (“Settlement” or “Settlement Agreement”) is attached as Exhibit A to the
 6   accompanying Declaration of Kai Richter (“Richter Decl.”).1 This Settlement
 7   resolves Plaintiffs’ class action claims against Allianz Asset Management of
 8   America L.P. (“AAM-LP”), Allianz Asset Management of America, LLC (“AAM-
 9   LLC”), the Committee of the Allianz Asset Management of America L.P. 401(k)
10   Savings and Retirement Plan (the “Committee” or “Investment Committee”), and
11   John Maney (collectively, “Defendants”) under the Employee Retirement Income
12   Act (“ERISA”), regarding Defendants’ management of the Allianz Asset
13   Management of America L.P. 401(k) Savings and Retirement Plan (“Plan”).2
14         Under the terms of the proposed Settlement, AAM-LP will pay $12,000,000
15   into a common fund for the benefit of Class Members, which will be allocated pro
16   rata among Class Members in proportion to their account balances in the Plan
17   during the Class Period (after deduction of any attorneys’ fees, expenses, and class
18   representative awards approved by the Court). This is a fair and reasonable recovery
19   in light of the attendant risks of litigation, and is well within the range of negotiated
20   settlements in similar ERISA cases. Moreover, the Settlement also provides for an
21   independent consultant to review the investment options in the Plan and for other
22   prospective relief.
23         For the reasons set forth below, the Settlement merits preliminary approval so
24   that the proposed Settlement Notices can be distributed. Among other things:
25
     1
       All capitalized terms have the meaning assigned to them in Article 2 of the
26
     accompanying Settlement Agreement.
27   2
       Defendants dispute the allegations and deny liability for any alleged ERISA
28   violations.
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 1             The Settlement was negotiated at arm’s length by experienced counsel,
 2               with the assistance of well-respected mediator, Retired Judge Layne
 3               Phillips;
 4             The monetary relief is significant, and compares favorably to
 5               settlements in other cases;
 6             The Settlement provides for automatic distribution of the settlement
 7               funds to the accounts of Current Participants in the Plan, and for a
 8               simple claim form to be submitted to Former Participants, which allows
 9               them to elect either to roll their distribution into another retirement
10               account or to receive a check;
11             For a period of no less than three years from the Settlement
12               Agreement’s effective date, Defendants will retain an unaffiliated
13               investment consultant to provide an annual evaluation of the Plan’s
14               investment lineup and review the Plan’s investment policy statement,
15               among other prospective relief;
16             The Class Release is appropriately tailored to claims that arise out of,
17               or are related to, the same nucleus of facts alleged in the original
18               Complaint and operative First Amended Complaint;
19             The proposed Settlement Notices provide fulsome information to Class
20               Members about the Settlement, and will be distributed via first-class
21               mail;
22             The Settlement Agreement provides Class Members the opportunity to
23               raise any objections they may have and appear at the final approval
24               hearing; and
25             The Settlement treats all Class Members fairly and equitably.
26         Accordingly, Plaintiffs respectfully request that this Court enter an order: (1)
27   preliminarily approving the Settlement; (2) approving the proposed Settlement
28
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 1   Notices and authorizing distribution of the Notices; (3) certifying the Settlement
 2   Class (which mirrors the monetary relief class previously certified by the Court); (4)
 3   scheduling a final approval hearing; and (5) granting other relief as set forth in the
 4   proposed Preliminary Approval Order. This motion is not opposed by Defendants.
 5                                     BACKGROUND
 6   I.     PROCEDURAL HISTORY
 7          A.    Nature of the Claims
 8          Plaintiffs filed their Class Action Complaint on October 7, 2015 on behalf of
 9   themselves and the Plan, as well as on behalf of participants and beneficiaries of the
10   Plan during the relevant time period. See ECF No. 1. Plaintiffs later filed their First
11   Amended Complaint on January 6, 2016, which remains the operative complaint.
12   See ECF No. 28 (“FAC”). The gravamen of the FAC is that the Plan’s fiduciaries
13   imprudently managed the Plan’s investments, and maintained a Plan lineup
14   consisting exclusively of funds managed by entities affiliated with the Plan sponsor,
15   AAM-LP, without considering alternative investments from other companies that
16   were less expensive and performed better in many cases. Id. ¶ 5. Based on the
17   allegations in the FAC, Plaintiffs assert claims for (1) breach of the fiduciary duties
18   of prudence and loyalty (Count I); failure to monitor fiduciaries (Count II), and
19   equitable relief (Count III).
20          B.    Defendants’ Motion to Dismiss
21          On February 5, 2016, Defendants moved to dismiss the FAC. ECF No. 32. On
22   August 5, 2016, the Court granted in part and denied in part Defendants’ motion to
23   dismiss. Specifically, the Court granted Defendants’ motion as to Count III, and
24   dismissed certain non-fiduciary employer defendants. ECF No. 61 at 14-16. The
25   Court denied Defendants’ motion with respect to all other claims. Id. at 16. The
26   remaining Defendants include AAM-LP, AAM-LLC, the Committee, and John
27   Maney.
28
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 1           C.    Discovery
 2           During the course of the litigation, the Settling Parties engaged in substantial
 3   discovery. This included (1) production of over 160,000 pages of documents by
 4   Defendants, (2) production of additional documents by the Class Representatives,
 5   (3) production of documents by non-parties,3 (4) seven depositions of defense fact
 6   witnesses, (5) depositions of each of the named Plaintiffs, and (6) one third-party
 7   fact witness deposition. Settlement Agreement ¶ 1.5; Richter Decl. ¶¶ 11-14. In
 8   addition, the Settling Parties also exchanged reports from their respective experts,
 9   including three reports from Plaintiffs’ experts (Ian Ayres, Ph.D., Steve Pomerantz,
10   Ph.D., and Marcia Wagner, Esq.) and four reports from Defendants’ experts
11   (Randolph Bucklin, Ph.D., Russell Wermers, Ph.D., Raymond Kanner, and Kristen
12   Willard, Ph.D.) Richter Decl. ¶ 15. All seven experts were deposed by counsel for
13   the Settling Parties. Id.
14           D.    Plaintiffs’ Motion for Class Certification
15           In the midst of fact discovery (but prior to expert discovery), Plaintiffs moved
16   for class certification on February 14, 2017. See ECF No. 79. On June 15, 2017,
17   following a hearing on the motion, the Court granted Plaintiffs’ motion in an Order
18   conditionally certifying two classes under Fed. R. Civ. P. 23(b)(1): one class seeking
19   monetary relief, and a subclass seeking injunctive relief. ECF No. 108 at 19.
20   Following supplemental briefing regarding the specific attorneys to represent the
21   Class, the Court appointed the undersigned counsel as Class Counsel. ECF No. 113.
22   On June 29, 2017, Defendants petitioned the Ninth Circuit for interlocutory review
23   of the order certifying a class, which the Ninth Circuit denied on September 13,
24   2017.
25
     3
26     Document subpoenas were served on Charles Schwab & Co., Inc. (the Plan’s
     recordkeeper), Latham and Watkins LLP (the Plan’s outside counsel for part of the
27   Class period), Groom Law Group (the Plan’s outside counsel following Latham and
28   Watkins), and the Defined Contribution Institutional Investment Association.
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 1            E.    Defendants’ Motion for Summary Judgment
 2            Defendants moved for summary judgment on August 25, 2017 on all claims.
 3   ECF No. 131. That motion was fully briefed by October 6, 2017. See ECF Nos. 152-
 4   1, 163. A hearing on Defendants’ motion was scheduled for October 27, 2017. ECF
 5   No. 126. However, the parties reached a settlement-in-principle on October 24, 2017
 6   and the Court subsequently vacated all pending case deadlines in this lawsuit. ECF
 7   No. 171.
 8   II.      OVERVIEW OF THE SETTLEMENT TERMS
 9            A.    Proposed Settlement Class
10            The Settlement Agreement calls for certification of the following Settlement
11   Class:
12            All participants and beneficiaries of the Plan at any time during the Class
              Period, excluding Defendants, their directors, and any employees with
13
              responsibility for the Plan’s investment or administrative functions.
14
     Settlement Agreement ¶ 2.46. This tracks the existing monetary relief class certified
15
     by the Court. See ECF No. 108 at 19.4 The Class Period is defined as the period
16
     from October 7, 2009 through December 26, 2017 (the date of this preliminary
17
     approval motion). Settlement Agreement ¶ 2.14. There are approximately 5,600
18
     class members. Richter Decl., ¶ 3.
19
              B.    Monetary Relief
20
              Under the Settlement, AAM-LP will pay $12,000,000 into a common
21
     settlement fund (the “Qualified Settlement Fund”). Settlement Agreement ¶¶ 5.5,
22
     5.6. Following any deductions for Court-approved (a) attorneys’ fees and costs, (b)
23
     class representative compensation, and (c) administrative expenses, the Net
24
     Settlement Fund will be distributed to the Settlement Class according to the
25
     following Plan of Allocation: First, an Average Account Balance will be calculated
26
27   4
       The Injunctive Relief Class certified by the Court was a subclass of the monetary
28   relief class.
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 1   for each Authorized Former Participant and Current Participant based on their total
 2   quarter-ending account balance invested in the Plan’s core line up and self-directed
 3   brokerage window for the period from October 7, 2009 through December 26, 2017
 4   (“Average Account Balance”). Id. ¶ 6.4.2. The Average Account Balances for all
 5   Authorized Former Participants and Current Participants will then be summed. Id. ¶
 6   6.4.3. Finally, each Authorized Former Participant or Current Participant shall
 7   receive a pro rata share of the Net Settlement Amount based on his or her
 8   Average Account Balance compared to the sum of those Account Balances. Id.5
 9   In other words, Settlement Class Members will receive a share of the Net Settlement
10   fund proportionate to their level of investment in the Plan relative to all eligible
11   Settlement Class Members.
12         Current Participants will have their Plan accounts automatically credited with
13   their share of the Net Settlement Fund. Id. ¶ 6.5.2. Allocations of the settlement
14   payment for each Current Participant will be made in accordance with and
15   proportionate to such Current Participant’s investment elections then on file for new
16   contributions. Id. ¶ 6.5.3. If the Current Participant is no longer an active employee
17   or does not have an investment election on file, then the Current Participant’s
18   settlement payments will be invested in the Plan’s default investment option. Id.
19         Former Participants will be required to submit a claim form, which allows
20   them to elect to have their distribution rolled over into an individual retirement
21   account or other eligible employer plan, or to receive a direct payment by check. Id.
22   6.6. This is consistent with other settlements, and will minimize the portion of the
23   Settlement Fund paid as taxes and also minimize waste due to uncashed checks.
24   Richter Decl., ¶ 4.
25
26   5
       If an Authorized Former Participant’s pro rata share of the Net Settlement Amount
27   is less than $10.00, then that Authorized Former Participant’s payment or pro rata
     share shall be zero for all purposes. Id. ¶ 6.4.3.
28
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 1         C.     Prospective Relief
 2         In addition to the monetary relief described above, the Settlement also
 3   provides for prospective relief. Specifically, for a period of no less than three years
 4   from the Effective Date, (1) the Plan shall retain the services of an unaffiliated
 5   investment consultant to provide an annual evaluation of the Plan’s investment
 6   lineup and review the Plan’s investment policy statement, Settlement Agreement ¶
 7   7.1.1; (2) AAM-LP shall have any revenue sharing amounts received by the Plan’s
 8   recordkeeper (currently Charles Schwab & Co., Inc.) on investments held by Plan
 9   participants rebated to participants’ Plan accounts, id. ¶ 7.1.2; and (3) the Plan’s
10   Investment Committee meeting minutes will include a description of the Investment
11   Committee’s rationale for the inclusion of any new Designated Investment
12   Alternative in the Plan’s investment lineup, id. at ¶ 7.1.3.
13         D.     Review by Independent Fiduciary
14         As required under ERISA, AAM-LP will retain an Independent Fiduciary to
15   review the Settlement on behalf of the Plan. Id. ¶ 3.1; see also Prohibited
16   Transaction Exemption 2003-39, 68 Fed. Reg. 75632, as amended, 75 Fed. Reg.
17   33830 (“PTE 2003-39”). The Parties will provide the Independent Fiduciary with
18   sufficient information to support the Independent Fiduciary’s review and evaluation.
19   Settlement Agreement, ¶ 3.1.4. The Independent Fiduciary will issue its report at
20   least 30 days prior to the Fairness Hearing, so the Court may consider the report in
21   determining whether to grant final approval of the Settlement. Id. ¶ 3.1.2.
22         E.     Release of Claims
23         In exchange for the relief provided by the Settlement, the Settlement Class
24   will release Defendants and affiliated persons and entities from all claims:
25
26                a)    That are or could be based on any of the allegations, acts,
           omissions, purported conflicts, representations, misrepresentations,
27         facts, events, matters, transactions or occurrences that were or could
28         have been asserted in the Action (including any assertion set forth in
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 1         the Complaint or First Amended Complaint, or any other submission
 2         made by the Class Representatives, Class Members, or their expert
           witnesses or Class Counsel in connection with the Action) or in any
 3         other complaint, action or litigation, or that arise out of, or are related
 4         to, the same nucleus of facts alleged in the Original and the First
           Amended Complaint …;
 5                b)    That would be barred by res judicata based on entry by the
 6         Court of the Final Approval Order;
                  c)    That relate to the direction to calculate, the calculation of,
 7         and/or the method or manner of allocation of the Net Settlement Fund
 8         pursuant to the Plan of Allocation; or
                  d)    That relate to the approval by the Independent Fiduciary of
 9         the Settlement Agreement, unless brought against the Independent
10         Fiduciary alone.
11   Id. ¶ 2.42.

12         F.      Class Notice and Settlement Administration

13         The Class will be sent a direct notice of the settlement (“Settlement Notice”)

14   via U.S. Mail. Id. ¶¶ 2.48, 3.3.1, & Exs. 3-4. The Settlement Notices sent to Former

15   Participants also will include a Claim Form enabling them to make the elections

16   described above. Id. ¶ 3.3.2 & Ex. 1. The Settlement Notices provide information to

17   the Settlement Class regarding, among other things: (1) the nature of the claims; (2)

18   the scope of the Settlement Class; (3) the terms of the Settlement; (4) Settlement

19   Class Members’ right to object to the settlement and the deadline for doing so; (5)

20   the class-wide release; (6) the identity of Class Counsel and the amount of

21   compensation they will seek in connection with the Settlement; (7) the amount of

22   any requested Class Representatives’ compensation; (8) the date, time, and location

23   of the final approval hearing; (9) Settlement Class Members’ right to appear at the

24   final approval hearing; and (10) the process for submitting claims (Former

25   Participants only). See id., Exs. 3-4.

26         To the extent that Class Members would like more information about the

27   Settlement, the Settlement Administrator will establish a Settlement Website on

28   which it will post several documents (or links to documents) relating to the case,
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 1   including the First Amended Complaint, the Settlement Agreement and Exhibits
 2   thereto, the Settlement Notices, the Former Participant Claim Form, any Court
 3   orders related to the Settlement, and the Motion for Attorneys’ Fees, Costs,
 4   Administrative Expenses, and Service Awards (when filed). Id. ¶ 12.1. In addition,
 5   the Settlement Administrator will establish a toll-free telephone call center facility
 6   that will provide callers the option to speak with a live operator if necessary. Id. ¶
 7   12.2.
 8           G.    Attorneys’ Fees and Expenses
 9           The Settlement Agreement provides that Class Counsel will file a motion for
10   attorneys’ fees, costs, and administrative expenses at least 30 days before the
11   deadline for objections to the proposed Settlement. Id. ¶ 8.1. The Settlement
12   Agreement provides that the appropriate amount shall be determined by the Court in
13   its discretion and does not purport to establish a presumptively reasonable amount.
14   Id. ¶ 8.2. However, in no event shall Class Counsel seek more than 25% of the
15   Qualified Settlement Fund as attorneys’ fees. Id.
16           In addition, the Settlement Agreement provides that the Class Representatives
17   may seek Class Representatives’ Compensation. Id. ¶ 8.1. The Settlement
18   Agreement is not contingent on Court approval of any of the fees, costs, expenses,
19   or compensation that may be requested. Id. ¶11.3.
20                                       ARGUMENT
21           There is a “strong judicial policy that favors settlements, particularly where
22   complex class action litigation is concerned.” Class Plaintiffs v. City of Seattle, 955
23   F.2d 1268, 1276 (9th Cir. 1992); see also Churchill Vill., L.L.C. v. Gen. Elec., 361
24   F.3d 566, 576 (9th Cir. 2004); Officers for Justice v. Civil Serv. Comm’n of City &
25   Cty. of San Francisco, 688 F.2d 615, 625 (9th Cir. 1982). Because it has been held
26   “proper to take the bird in hand instead of a prospective flock in the bush ... unless
27   the settlement is clearly inadequate, its acceptance and approval are preferable to
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 1   lengthy and expensive litigation with uncertain results.” Nat’l Rural Telecomm’s
 2   Coop. v. DIRECTV, 221 F.R.D. 523, 526 (C.D. Cal. 2004) (citation and quotation
 3   marks omitted).
 4   I.     THE COURT SHOULD PRELIMINARILY APPROVE THE SETTLEMENT
 5          In evaluating a proposed settlement, the district court’s review is “limited to
 6   the extent necessary to reach a reasoned judgment that the agreement is not the
 7   product of fraud or overreaching by, or collusion between, the negotiating parties,
 8   and that the settlement, taken as a whole, is fair, reasonable, and adequate to all
 9   concerned.” Bravo v. Gale Triangle, Inc., 2017 WL 708766, at *4 (C.D. Cal. Feb.
10   16, 2017) (quoting Officers for Justice, 688 F.2d at 625). In doing so, the Court
11   ‘“ultimately consider[s] a number of factors, including: the strength of plaintiffs’
12   case; the risk, expense, complexity, and likely duration of further litigation; the risk
13   of maintaining class action status throughout the trial; the amount offered in
14   settlement; the extent of discovery completed, and the stage of the proceedings; the
15   experience and views of counsel; the presence of a governmental participant; and
16   the reaction of the class members to the proposed settlement.’” Peel v.
17   Brooksamerica Mortg. Corp., 2014 WL 12589317, at *4 (C.D. Cal. Nov. 13, 2014)
18   (Staton, J.) (quoting Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2003)).
19          However, at the preliminary approval stage, “because class members will
20   receive an opportunity to be heard on the settlement, a full fairness analysis is
21   unnecessary. Preliminary approval …[is] appropriate where (1) the proposed
22   settlement appears to be the product of serious, informed, non-collusive
23   negotiations, (2) has no obvious deficiencies, (3) does not improperly grant
24   preferential treatment to class representatives or segments of the class, and (4) falls
25   within the range of possible approval.” Peel, 2014 WL 12589317, at *4 (internal
26   quotation marks and citations omitted). Here, each of the applicable factors weighs
27   in favor of preliminary approval of the Settlement.
28
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 1         A.     The Settlement Was Obtained Through Serious, Informed, Non-
 2                Collusive Negotiations.

 3         The Settlement was obtained following a full-day mediation with retired
 4   Judge Layn Phillips. Richter Decl. ¶ 17. At all times, the negotiations were
 5   conducted at arm’s length. Richter Decl. ¶ 18. Accordingly, this factor strongly
 6   weighs in favor of approval of the Settlement, as there is no evidence of any fraud or
 7   collusion. See Peel, 2014 WL 12589317, at *5 (finding this factor satisfied where
 8   settlement was reached before Hon. Diane M. Welsh (Ret.) of JAMS).
 9         B.     The Settlement Provides for Significant Monetary and Prospective
10                Relief, and Falls within the Range of Possible Approval.

11         In evaluating the terms of the settlement, “[t]he court’s role is not to advocate

12   for any particular relief, but instead to determine whether the settlement terms fall

13   within a reasonable range of possible settlements, giving ‘proper deference to the

14   private consensual decision of the parties’ to reach an agreement rather than to

15   continue litigating. In re Google Referrer Header Privacy Litig., 87 F. Supp. 3d

16   1122, 1133 (N.D. Cal. 2015), aff’d, 869 F.3d 737 (9th Cir. 2017) (quoting Hanlon v.

17   Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998)). “[I]t is well-settled law that a

18   proposed settlement may be acceptable even though it amounts to only a fraction of

19   the potential recovery that might be available to the class members at trial,”

20   DIRECTV, 221 F.R.D. at 527, Importantly, “it is the complete package taken as a

21   whole, rather than the individual component parts, that must be examined for overall

22   fairness.” Id. (internal quotation marks and citation omitted).

23         Here, the benefits of a $12,000,000 settlement outweigh the risks of pursuing

24   a potentially greater, but uncertain, recovery. Even if Plaintiffs defeated Defendants’

25   summary judgment motion and prevailed at trial—which they believe they could

26   have—the Court could have awarded a wide range of damages to the class. See In re

27   NVIDIA Corp. Deriv. Litig., 2008 WL 5382544, at *3 (N.D. Cal. Dec. 22, 2008)

28   (“even a favorable judgment at trial may face post-trial motions and even if liability
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 1   was established, the amount of recoverable damages is uncertain.”) Damages
 2   calculations relating to 401(k) investment offerings are the subject of significant
 3   uncertainty. See Tussey v. ABB, Inc., 746 F.3d 327, 338 (8th Cir. 2014) (instructing
 4   district court to “reevaluate its method of calculating the damage award, if any, for
 5   the participants’ investment selection … claims”); Tussey v. ABB, Inc., 850 F.3d
 6   951, 958–61 (8th Cir. 2017), cert. denied, No. 17-265, 2017 WL 3594208 (U.S. Oct.
 7   2, 2017) (remanding a second time, finding that the district court still did not
 8   adequately consider “other ways of measuring the plans’ losses”).
 9         Plaintiffs’ expert, Dr. Pomerantz, calculated total Plan-wide losses (including
10   losses due to both allegedly excessive fees and investment underperformance) under
11   four different models: two models based on comparisons to Vanguard index funds
12   and two models based on comparisons to popular funds among large 401(k) plans.
13   See ECF No. 160-7 at 8, 78-85. For three of those four models, the estimated losses
14   fell within a relatively narrow range of between $39.5 million and 47.0 million (with
15   the fourth model generating a higher estimate of $65.3 million). Id. Dr. Pomerantz
16   also attempted to break out the losses due to excessive fees based on various
17   scenarios, including comparisons to other plans (based on data from the Investment
18   Company Institute) and comparisons to other popular funds and Vanguard index
19   funds. Id. at 85-87. Under most of these scenarios (each of which was subsumed
20   within his “total Plan-wide losses” analyses and were not additive to those
21   amounts), the estimated “excess fee” damages also fell within a relatively narrow
22   range of between $15.2 million and $24.1 million (with the index funds comparison
23   generating a higher excess fee estimate of $41.0 million). Id. Thus, the negotiated
24   $12 million recovery exceeds 20-25% of the total estimated losses under the
25   majority of Dr. Pomerantz’s models, and a higher percentage if one were to look
26   only at that portion of his analyses that focus on fees.6
27   6
       Defendants disputed Dr. Pomerantz’s damages analysis (in addition to contesting
28   liability), and argued that the investments in the Plan were objectively prudent and
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 1         This recovery falls well within the “range of possible approval.” Peel, 2014
 2   WL 12589317, at *4. See generally In re Rite Aid Corp. Sec. Litig., 146 F. Supp. 2d
 3   706, 715 (E.D. Pa. 2001) (noting that since 1995, class action settlements have
 4   typically “recovered between 5.5% and 6.2% of the class members’ estimated
 5   losses”); Stott v. Capital Fin. Servs., Inc., 277 F.R.D. 316, 345, n. 19 (N.D. Tex.
 6   2011) (approving class settlement “estimated at about 2 to 3 percent of the each
 7   individual class member's total losses” based on the “risks involved in the
 8   litigation”); In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1350
 9   (S.D. Fla. 2011) (recovery of 9 percent was reasonable); In re Newbridge Networks
10   Sec. Litig., 1998 WL 765724, at *2 (D.D.C. Oct. 23, 1998) (“[A]n agreement that
11   secures roughly six to twelve percent of a potential recovery ... seems to be within
12   the targeted range of reasonableness”). The average gross recovery is over $2,000
13   per Class Member. Richter Decl. ¶ 5.
14         Moreover, in addition to $12 million in monetary relief, the Settlement also
15   provides substantial prospective relief. As explained above, AAM-LP will retain an
16   independent investment consultant to review the Plan lineup and the Plan’s
17   investment policy statement on an annual basis for a period of no less than three
18   years. See Settlement Agreement ¶ 7.1.1. As an added benefit, any revenue sharing
19   amounts received by the Plan’s recordkeeper on investments held by Plan
20   participants will be rebated to Plan participants’ accounts. Id. ¶ 7.1.2. Further, the
21   Plan’s Investment Committee meeting minutes will include a description of the
22   Investment Committee’s rationale for the inclusion of any new Designated
23   Investment Alternatives in the Plan’s investment lineup. Id. ¶ 7.1.3. This additional
24   prospective relief further supports approval of the Settlement.
25
26   that the Plan suffered no losses. See ECF No. 131-1 at 13-24; ECF No. 163 at 14-
27   17, 20-24. Thus, proceeding further with the litigation would have “entail[ed] . . .
     the risk that Class Members would recover nothing at all.” Kmiec v. Powerwave
28   Techs., Inc., 2015 WL 12914343, at *5 (C.D. Cal. Dec. 4, 2015).
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 1         C.     Plaintiffs’ Case Faced Risks and Significant Expenses with Further
 2                Litigation

 3         The relief that was negotiated represents a reasonable compromise in light of
 4   the risks of continuing the litigation. Although Plaintiffs believe there is strong legal
 5   and factual support for their claims, there is risk “inherent in taking any litigation to
 6   completion.” Turner v. Murphy Oil USA, Inc., 472 F. Supp. 2d 830, 849 (E.D. La.
 7   2007) (internal quotation marks omitted). This is illustrated by another recent case
 8   challenging the inclusion of proprietary funds in a 401(k) plan, which resulted in
 9   judgment following trial in favor of the defendants. See Brotherston v. Putnam
10   Investments, LLC, 2017 WL 2634361 (D. Mass. June 19, 2017) (granting
11   defendants’ motion for judgment on partial findings).7 Although the judgment in
12   that case is on appeal to the First Circuit, the trial court’s ruling in Putnam
13   demonstrates the risks posed by a case such as this.
14         Even if Plaintiffs proved at trial that Defendants had breached their fiduciary
15   duties, Defendants could nonetheless prevail if the Court found that the breach did
16   not cause a loss to the Plan. This is precisely what happened in Putnam. The district
17   court found that the plaintiffs “failed to establish a prima facie case of loss” at trial,
18   despite making a persuasive showing that the fiduciaries were “no paragon of
19   diligence” and demonstrated that the defendants had failed to monitor the plan’s
20   investments. Putnam, 2017 WL 2634361, at *12; see also Leigh v. Engle, 727 F.2d
21   113, 138–39 (7th Cir. 1984) (describing burden of proving defendants’ profits as
22   potentially “insurmountable”). Although Plaintiffs believe that they would have
23   been able to prove losses to the Plan at trial, this risk was anything but hypothetical.
24         At the time of Settlement, Defendants’ motion for summary judgment was
25   pending. In their motion papers, Defendants cited Putnam repeatedly. Although
26   Plaintiffs are confident that Defendants would not have prevailed on their motion,
27   7
       Nichols Kaster, PLLP also was appointed to represent the class in Putnam, and
28   tried the case. Richter Decl., ¶ 7.
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 1   “successfully opposing [Defendants’] motion for summary judgment [would] not
 2   mean that the class had established liability or would obtain a favorable . . . verdict.”
 3   Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 964 (9th Cir. 2009). Absent a
 4   settlement, the parties would have to incur the risks and additional costs associated
 5   with a trial. See Vandervort v. Balboa Capital Corp., 8 F. Supp. 3d 1200, 1206
 6   (C.D. Cal. 2014) (Staton, J.). With seven experts, “[t]rial no doubt would have
 7   included a great deal of expert testimony on these complex and difficult questions,”
 8   Kmiec, 2015 WL 12914343, at *5, and could have easily lasted several weeks with
 9   an uncertain outcome.
10         Moreover, even if Plaintiffs had prevailed at trial and the Court found that
11   Defendants’ breached their fiduciary duties and caused the Plan to suffer losses,
12   there is a strong likelihood that Defendants would have appealed such findings.
13   Indeed, Defendants already sought interlocutory review of the Court’s order
14   granting class certification. See Urakhchin v. Allianz Asset Management of America
15   L.P., No. 17-80124, ECF No. 1-2 (9th Cir. June 29, 2017). Thus, at a minimum,
16   Defendants “would undoubtedly have appealed certification if there were a final,
17   adverse judgment.” Rodriguez, 563 F.3d at 966. These risks and expenses of
18   continuing the litigation weigh in favor of approval of the Settlement.8
19         D.     The Parties Had Completed Discovery and Had a Thorough
20                Understanding of the Case.
21         The stage at which the Settlement was reached further supports approval of
22   the Settlement. Completion of discovery prior to settlement weighs in favor of court
23   8
       In assessing the strength of Plaintiffs’ case, “a district court should neither judge
24   the merits of the claims in dispute, nor compare the proposed settlement ‘against a
     hypothetical or speculative measure of what might have been achieved by the
25   negotiators.’ ‘Ultimately, the district court's determination is nothing more than an
26   amalgam of delicate balancing, gross approximations, and rough justice.’” Bravo,
     2017 WL 708766, at *4 (quoting Officers for Justice, 688 F.2d at 625); see also
27   Officers for Justice, 688 F.2d at 625 (“the settlement or fairness hearing is not to be
28   turned into a trial or rehearsal for trial on the merits.”).
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 1   approval because the parties are more likely to have “‘arrived at a compromise
 2   based on a full understanding of the legal and factual issues surrounding the case.’”
 3   DIRECTV, 221 F.R.D. at 527 (quoting 5 Moore’s Federal Practice, § 23.85[2][e]
 4   (Matthew Bender 3d ed.))). Further, completed discovery provides the court
 5   “‘sufficient evidence to determine the adequacy of settlement.’” Id. (quoting 4 A.
 6   Conte & H. Newberg, Newberg on Class Actions, § 11:45 at 129 (4th ed. 2002))).
 7   Therefore, when, as here, a settlement follows “sufficient discovery and genuine
 8   arms-length negotiation” it is “presumed fair.” Id. at 528 (citations omitted); see
 9   also Dynabursky v. Alliedbarton Sec. Servs., LP, 2016 WL 8921915, at *6 (C.D.
10   Cal. Aug. 15, 2016) (Staton, J.) (finding parties had engaged in sufficient “formal
11   and informal” discovery after Plaintiffs’ counsel had reviewed certain documents
12   and deposed key witnesses).
13         Here, the parties had completed extensive discovery, involving the production
14   of more than 160,000 pages of documents by Defendants, additional productions by
15   Plaintiffs and third parties, ten fact witness depositions (including defense witness
16   depositions, Plaintiff depositions, and one third-party deposition), and seven expert
17   depositions following an exchange of expert reports. See Richter Decl. ¶¶ 11-15. In
18   addition, the parties had fully briefed Defendants’ motion for summary judgment
19   prior to the mediation, giving both sides a clear assessment of the record and the
20   strengths and weaknesses of their respective cases. In short, both sides had done
21   their homework, which contributed to a fulsome and fair end result.
22         E.    The Class Representatives and Class Counsel Endorse the
23               Settlement.
24         Both Class Counsel and the named Class Representatives have submitted
25   declarations endorsing the Settlement in this case. See Richter Decl., ¶¶ 4-9, 18;
26   Urakhchin Decl. ¶¶ 4-6; Marfice Decl. ¶¶ 4-6. This provides further support for
27   preliminary approval of the Settlement.
28
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 1           As this Court has repeatedly recognized, “[t]he recommendations of
 2   plaintiffs’ counsel should be given a presumption of reasonableness.” Dynabursky,
 3   2016 WL 8921915, at *7 (citation and quotation marks omitted). Courts accord
 4   “great weight ... to the recommendation of counsel, who are most closely acquainted
 5   with the facts of the underlying litigation, . . . [as] parties represented by competent
 6   counsel are better positioned than courts to produce a settlement that fairly reflects
 7   each party's expected outcome in the litigation.” DIRECTV, 221 F.R.D. 523, 528
 8   (citation and quotation marks omitted). Notably, Class Counsel is this case also
 9   serves as court-appointed class counsel in several other ERISA cases, and has
10   served as class counsel in several other types of class action cases as well. Richter
11   Decl. ¶¶ 19-21 & Ex. C. Thus, Class Counsel’s opinion that the Settlement is fair,
12   reasonable, and adequate weighs strongly in favor of granting preliminary approval.
13   In addition, both of the Class Representatives have indicated that they support the
14   Settlement and are satisfied with the result that has been achieved. Urakhchin Decl.
15   ¶¶ 4-6; Marfice Decl. ¶¶ 4-6. Accordingly, the Court should approve the Settlement
16   and authorize distribution of the Settlement Notices, so that other Class Members
17   also may express their opinions if they choose to do so.
18           F.    The Settlement Treats All Class Members Fairly and Equitably.
19           Finally, the Settlement treats all Class Members fairly. As noted above,
20   according to the Plan of Allocation, all eligible Settlement Class Members will
21   receive a pro rata share of the Qualified Settlement Fund based on their average
22   account balance. See supra at 6. This ensures that each Class Member receives a
23   settlement payment proportionate to their level of investment in the Plan relative to
24   all eligible Class Members. Id.
25   II.     THE CLASS NOTICE PLAN IS REASONABLE AND SHOULD BE APPROVED
26           In addition to reviewing the substance of the Parties’ Settlement Agreement,
27   the Court must ensure that notice is sent in a reasonable manner to all Class
28
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 1   Members who would be bound by the proposed settlement. Fed. R. Civ. P. 23(e)(1).
 2   The “best notice” practicable under the circumstances includes individual notice to
 3   all class members who can be identified through reasonable effort. Fed. R. Civ. P.
 4   23(c)(2)(B). That is precisely the type of notice proposed here.
 5         The Settlement Agreement provides that the Settlement Administrator will
 6   provide direct notice of the Settlement to Settlement Class Members via first-class
 7   mail. Settlement Agreement ¶ 3.3.1. This type of notice is presumptively reasonable.
 8   See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985). The content of the
 9   Settlement Notices is also reasonable, as it “‘generally describes the terms of the
10   settlement in sufficient detail to alert those with adverse viewpoints to investigate
11   and to come forward and be heard.’” Spann v. J.C. Penney Corp., 314 F.R.D. 312,
12   330 (C.D. Cal. 2016) (quoting Churchill Village, L.L.C., 361 F.3d at 575). Among
13   other things, the Settlement Notices “describe[] the nature of the action,
14   summarize[] the terms of the settlement, identif[y] the … class[] and provide[]
15   instruction on how to . . . object, and the proposed fees and expenses to be paid to
16   Plaintiffs’ counsel . . . among others.” Chao v. Aurora Loan Servs., LLC, 2014 WL
17   4421308, at *6 (N.D. Cal. Sept. 5, 2014); see also Spann, 314 F.R.D. at 330 (“As a
18   general rule, class notice must strike a balance between thoroughness and the need
19   to avoid unduly complicating the content of the notice and confusing class
20   members.” (citation and quotation marks omitted)). To the extent that Class
21   Members have any questions, they may obtain additional information through the
22   settlement website or telephone support line. See Settlement Agreement ¶¶ 12.1,
23   12.2. This notice program is more than sufficient to meet the requirements of Fed.
24   R. Civ. P. 23 and Due Process, and should be approved. See Munday v. Navy
25   Federal Credit Union, 2016 WL 7655807, at *10-11 (C.D. Cal. Sept. 15, 2016)
26   (Staton, J.) (approving similar notice plan).
27
28
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 1   III.     THE CERTIFIED CLASSES SHOULD BE AMENDED FOR SETTLEMENT
 2            PURPOSES

 3            In its Class Certification Order the Court certified two classes: one for

 4   monetary relief and another for injunctive relief. See ECF No. 108 at 19. For the

 5   same reasons the Court certified these two classes, Plaintiffs request that the Classes

 6   be consolidated and amended to include the following:

 7            All participants and beneficiaries of the Plan at any time during the
              Class Period, excluding Defendants, their directors, and any employees
 8            with responsibility for the Plan’s investment or administrative
 9            functions.
     Given the terms of the Settlement (which provide uniform relief to all Class
10
     Members), Plaintiffs believe separate classes for monetary and injunctive relief are
11
     unnecessary. Moreover, the two classes the Court certified in its Class Certification
12
     Order did not identify an end date to the Class Period. Because the Class Period is
13
     now defined for settlement purposes, the Settlement Class definition should reflect
14
     the new Class Period.
15
16   IV.      DAHL ADMINISTRATION SHOULD CONTINUE TO PROVIDE ADMINISTRATIVE
              SERVICES IN CONNECTION WITH THE SETTLEMENT
17
18            Finally, this Court should approve Dahl Administration, LLC (“Dahl”) as the

19   Settlement Administrator pursuant to Paragraph 2.44 of the Settlement Agreement.

20   Dahl was the lowest bidder among several settlement administration firms in a

21   competitive bidding process. Richter Decl. ¶ 22. It has extensive experience

22   administering class action settlements, and was previously was appointed by the

23   Court to distribute the class notices that were mailed following the Court’s class

24   certification decision. Id. Dahl has performed all duties that have been required of

25   it to date, id., and it is logical that it would continue to serve as the administrator for

26   purposes of Settlement.

27
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 1                                     CONCLUSION
 2         For the foregoing reasons, Plaintiffs respectfully request the Court to enter an
 3   order: (1) preliminarily approving the parties’ Class Action Settlement Agreement,
 4   (2) approving the proposed Settlement Notices and authorizing distribution of the
 5   Notices by Dahl, (3) certifying the proposed Settlement Class, (4) scheduling a final
 6   approval hearing, and (5) granting such other relief as set forth in Plaintiffs’
 7   proposed Preliminary Approval Order submitted herewith.
 8
     Dated: December 26, 2017              NICHOLS KASTER, PLLP
 9
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